                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

 SIDI MOUHAMED DEIDE, ADAMA SY,
 ABDALLAHI SALEM, MOUHAMED SAID
 MALOUM DIN, and JHONNY NEIRA on
 behalf of himself and all similarly situated
 people,

                    Plaintiffs,
                                                                Case No. 23-cv-3954 (NSR)
 v.

 EDWIN J. DAY as Rockland County Executive;
 STEVEN M. NEUHAUS as Orange County
 Executive,

                     Defendants.


               NOTICE OF MOTION FOR PRELIMINARY INJUNCTION

       PLEASE TAKE NOTICE that the plaintiffs will move this Court on a date to be

determined by the Court for class-wide preliminary injunctive and declaratory relief. As

described more fully in their supporting memorandum and declarations, the plaintiffs seek an

order enjoining, during the pendency of this action, (1) Defendant Edwin J. Day from all actions

taken pursuant to the Rockland County Emergency Order No. 1, dated May 6, 2023; and further

enjoining (2) Defendant Steven M. Neuhaus from all actions taken pursuant to the Orange

County Executive Order of May 8, 2023.

       In support of their motion, the plaintiffs file their Memorandum of Law in Support of

Motion for Preliminary Injunction (dated May 15, 2023), the Declaration of Amy Belsher (dated

May 15, 2023) with Exhibits 1-19, and the Declaration of Lourdes Chavez (dated May 15, 2023).
Dated: May 15, 2023                                      Respectfully Submitted,
       New York, New York
                                                         NEW YORK CIVIL LIBERTIES UNION
                                                          FOUNDATION

                                                         /s/ Amy Belsher
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                                                         ANTONY GEMMELL
                                                         GUADALUPE V. AGUIRRE
                                                         IFY CHIKEZIE*
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* Application for admission in the Southern District of New York forthcoming
